Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 1 of 21




                         EXHIBIT L
                       Case 2:90-cv-00520-KJM-SCR              Document 3434-1          Filed 12/23/08         Page 2 of 21

                   1    PRISON LAW OFFICE                                         ROSEN, BIEN & GALVAN, LLP
                        DONALD SPECTER, Bar No. 83925                             MICHAEL W. BIEN, Bar No. 96891
                  2     STEVEN FAMA, Bar No. 99641                                JANE E. KAHN, Bar No. 112239
                        E. IVAN TRUJILLO, Bar No. 228790                          AMY WHELAN, Bar No. 215675
                  3     SARA NORMAN, Bar No. 189536                               LORI RIFKIN, Bar No. 244081
                        ALISON HARDY, Bar No. 135966                              LISA ELLS, Bar No. 243657
                  4     REBEKAH EVENSON, Bar No. 207825                           315 Montgomery Street, 10th Floor
                        1917 Fifth Street                                         San Francisco, California 94104
                  5     Berkeley, CA 94710                                        Telephone: (415) 433-6830
                        Telephone: (510) 280-2621
                  6
                        KIRKPATRICK & LOCKHART PRESTON                            BINGHAM, McCUTCHEN, LLP
                  7     GATES ELLIS LLP                                           WARREN E. GEORGE, Bar No. 53588
                        JEFFREY L. BORNSTEIN, Bar No. 99358                       Three Embarcadero Center
                  8     EDWARD P. SANGSTER, Bar No. 121041                        San Francisco, California 94111
                        RAYMOND E. LOUGHREY, Bar No. 194363                       Telephone: (415) 393-2000
                  9     55 Second Street, Suite 1700
                        San Francisco, CA 94105-3493
              10        Telephone: (415) 882-8200
              11       THE LEGAL AID SOCIETY
                       EMPLOYMENT LAW CENTER
             12        CLAUDIA CENTER, Bar No. 158255
                       600 Harrison Street, Suite 120
             13        San Francisco, CA 94107
                       Telephone: (415) 864-8848
             14
                       Attorneys for Plaintiffs
             15
                                           IN THE UNITED STATES DISTRICT COURTS
             16                          FOR THE EASTERN DISTRICT OF CALIFORNIA
             17                         AND THE NORTHERN DISTRICT OF CALIFORNIA
                                 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             18
                                   PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             19
                       UkLPH   COLEMAN, et al.,         ) No. Civ S 90-0520 LKK-JFM P
             20                                        )
                                  Plaintiffs,          ) THREE-JUDGE COURT
             21                                        )
                            VS.                        ) PLAINTIFF COLEMAN'S FIRST SET OF
             22                                        ) REQUESTS FOR ADMISSION TO
                       ARNOLD SCHWARZENEGGER, et al., ) DEFENDANT SCHWARZENEGGER
             23                                        )
                                Defendants             )
             24                                       .)
                       MARCIANO PLATA ,et al.,            No. C01-1351 TEH
             25
                                Plaintiffs,            ) THREE-JUDGE COURT
             26             VS.                        )
                                                       )
             27        ARNOLD SCHWARZENEGGER, et al.,
             28                 Defendants            )
                        PLAINTIFF COLEMAN'S FIRST SET OF REQUESTS FOR ADMISSION TO DEFENDANT   SCHWARZENEGQER, NOS.: CIV S 90-0520 LKK-
[232656-1]                                                             JFM, C01-1351 TEH
                      Case 2:90-cv-00520-KJM-SCR                Document 3434-1         Filed 12/23/08      Page 3 of 21

                      PROPOUNDING PARTIES:                      Plaintiff Ralph Coleman
                      RESPONDING PARTIES:                       Defendant Arnold Schwarzenegger
                      SET NUMBER:                               ONE
                               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                               PLEASE TAKE NOTICE               that, pursuant to Federal Rules of Civil Procedure Rule 36,
                  6   Plaintiff Ralph Coleman requests that Defendant Schwarzenegger is hereby requested to
                  7   answer        the following requests for admission separately and fully in writing under oath within
                  8   twenty-one (21) days after service pursuant to Magistrate Judge Moulds' 10/30/07 Order
                  9   [Docket 2495].
             10
             11                                                       DEFINITIONS
             12                1.         "DOCUMENT"       or   "DOCUMENTS"       as   used herein is intended to have the
             13       broadest possible meaning and to include anything coming within the definition of "writings"
             14       and "recordings" as set forth in Rule 1001(1) of the Federal Rules of Evidence. The term
             15       refers to but is not limited to the product of any method of recording information, whether by
             16       writing or otherwise, including without limitation: any written, electronic, or computerized
             17       files, data or software; memoranda; correspondence; communications; reports; summaries;
             18       studies, analyses; evaluations; notes or notebooks; indices; logs; books, booklets or binders;
             19       pamphlets; calendar or diary entries; ledger entries; press clippings; graphs; tables; charts;
             20       drawings; maps; meeting minutes; photographs; slideshow of photographs; transcripts; audio
             21       or video recordings or tapes; facsimile transmissions; electronic mail messages; and the like.

             22       "DOCUMENT" shall include each copy of any whole or part of a document on which there
             23       appears any marking or deletion which does not appear on the original or other copies thereof,
             24       together with all drafts or notes for the preparation of each document.           If the original of a
             25       document is not available, "DOCUMENT" includes any identical copy of the original.
             26                2.        "YOU" and "YOUR" refers to Defendant Schwarzenegger, his agents,
             27       representatives, attorneys, and all other persons or entities acting on his behalf.
             28
                                                                            -1-
                       PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT   SCHWARZENEGGER, NOS.:   CIV S 90-0520 LKK-
[232656-1]                                                            .IFM, C01-1351 TEH
                      Case 2:90-cv-00520-KJM-SCR              Document 3434-1            Filed 12/23/08      Page 4 of 21

                  1                                        REQUESTS FOR ADMISSION
                  2   REQUEST FOR ADMISSION NO. 1:
                  3             Admit that the DOCUMENT attached as Exhibit A herein is an authentic and genuine
                  4   slidcshow of photographs taken of Defendant Schwarzcnegger at California Rehabilitation
                  5   Center ("CRC").
                  6   REQUEST FOR ADMISSION NO. 2:
                  7             Admit that the DOCUMENT attached as Exhibit A herein depicts actual conditions at
                  8   CRC at the time the photographs in the slideshow were taken.
                  9   REQUEST FOR ADMISSION NO. 3:
             10                 Admit that the DOCUMENT attached as Exhibit A herein contains photographs that
             11       were     taken at CRC   on   March 6, 2007.
             12       REQUEST FOR ADMISSION NO. 4:
             13                 Admit that the DOCUMENT attached as Exhibit A herein was not staged and did not
             14       involve the use of actors.
             15       REQUEST FOR ADMISSION NO. 5:
             16            Admit that YOU approved the contents of the text accompanying the photographs in the
             17       DOCUMENT attached as Exhibit A herein.
             18       REQUEST FOR ADMISSION NO. 6:
             19                 Admit that the DOCUMENT attached as Exhibit A herein was displayed on YOUR
             20       website at http://gov.ca.gov/index.php?/photoviewer/frame/5567/under the title "2007 Prison
             21       Reform and Rehabilitation Initiative" on August 14, 2008.
             22
             23       Dated:     August 14, 2008                                 Respectfully submitted,
             24                                                                  ROSEN, BIEN & GALVAN, LLP
             25
                                                                                 By:.
             26                                                                         LISA ELLS
                                                                                        Attorneys for Plaintiffs
             27
             28
                                                                           -2-
                       PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT   SCHWARZENEGGER, NOS.: CIV S 90-0520 LKK-
[232656-I]                                                            JFM, C01-1351 TEH
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 5 of 21




                         EXHIBIT A
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 6 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 7 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 8 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 9 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 10 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 11 of 21
CR   Document 3434-1   File
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 13 of 21
Case 2:90-cv-00520-KJM-SCR   Document 3434-1   Filed 12/23/08   Page 14 of 21




                         EXHIBIT M
                  Case 2:90-cv-00520-KJM-SCR             Document 3434-1          Filed 12/23/08      Page 15 of 21


              1    EDMUND G. BROWN JR.                                       HANSON BRIDGETT LLP
                   Attorney General of the State of California               JERROLD C. SCHAEFER- 39374
             2     DAVID S. CHANEY                                           PAUL B. MELLO-179755
                   Chief Assistant Attorney General                          S. ANNE JOHNSON - 197415
             3     ROCHELLE C. EAST                                          SAMANTHA TAMA - 240280
                   Senior Assistant Attorney General                         RENJU P. JACOB - 242388
              4    JONATHAN L. WOLFF                                         425 Market Street, 26 th Floor
                   Supervising Deputy Attorney General                       San Francisco, CA 94105
              5    KYLE A. LEWIS, State Bar No. 201041                       Telephone: (415) 777-3200
                   Deputy Attorney General                                   Facsimile: (415) 541-9366
             6      455 Golden Gate Avenue, Suite 11000                      jschefer@hansonbridgett.com
                    San Francisco, CA 94102-7004                             pmello@hansonbridgett.com
             7      Telephone: (415) 703-5500                                ajohnson@hansonbridgett.com
                    Fax: (415) 703-5843                                      stama@hansonbridgett.com
              8     Email: Kyle.Lewis@doj.ca.gov                             rjcob@hansonbridgett.com
              9    Attorneys for Defendants

             10                                  IN THE UNITED STATES DISTRICT COURTS
             11                                FOR THE EASTERN DISTRICT OF CALIFORNIA
                                               AND THE NORTHERN DISTRICT OF CALIFORNIA
             12
                                UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             13                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

             14 RALPH COLEMAN, et aI.,

             15                  Plaintiffs,

             16          vs.

             17        OLD SCHWARZENEGGER, et al.,

             18                  Defendants




                         vs.

                  ARNOLD SCHWARZENEGGER, et aI.;



                                                                                                RECEIVED
                                                                                                 SEP 05 2008

                                                                                         Rosen, Bien & Galvan


                   RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUESTS FOR ADMISSION TO DEFENDANT SCHW ARZENEGGER, NOS.: CIV S
[232656-1]                                                    90-0520 LKK-JFM, COl-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR             Document 3434-1           Filed 12/23/08       Page 16 of 21


             1     PROPOUNDING PARTIES:                   Plaintiff Ralph Coleman
             2     RESPONDING PARTIES:                    Defendant Arnold Schwarzenegger

             3     SET NUMBER:                            ONE
             4                                         PRELIMINARY STATEMENT
             5            Defendant Arnold Schwarzenegger (Defendant) and counsel have not yet fully completed the

             6     investigation of the facts relating to this case and have not yet fully completed discovery in this action.

             7     All of the following responses are based solely upon information and documents which are presently

             8     available to, and specifically known by Defendant and disclose only those contentions which presently

             9     occur to Defendant. It is anticipated that further discovery, independent investigation, legal research
             10    imd analysis will supply additional facts and lead to additions, changes, and variations from these

             11    responses.
             12            The following responses are given without prejudice to Defendant's right to produce

             13    subsequently discovered documents or to add, modify, or otherwise change or amend the responses.

             14    The information set forth is true and correct to the best knowledge of the Defendant as of this date, and

             15    is subject to correction for omissions, errors, or mistakes. These responses are based on records and

             16    information presently available to Defendant.
             17                              RESPONSES TO REQUESTS FOR ADMISSION
             18    REQUEST FOR ADMISSION NO.1:
             19            Admit that the DOCUMENT attached as Exhibit A herein is an authentic and genuine
             20    slideshow of photographs taken of Defendant Schwarzenegger at California Rehabilitation Center

             21    ("CRC").

             22    RESPONSE TO REQUEST FOR ADMISSION NO.1:
             23            Defendant objects to this request because it seeks information that is not relevant to a claim or

             24 ' defense at issue in this lawsuit. Additionally, this request requires a response that is more properly

             25    sought from parties or persons other than this responding Defendant.

             26            Subject to, and without waiving the above objections, Defendant responds to this request as

             27    follows: Defendant admits upon information and belief that this slideshow contains pictures taken of
             28     Defendant while at the identified facility.
                                                                         -1-
                     PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT SCHW ARZENEGGER, NOS,: CIV S 90-0520 LKK-
[232656-1]                                                          JFM, COI-I35J TEH
                  Case 2:90-cv-00520-KJM-SCR            Document 3434-1            Filed 12/23/08      Page 17 of 21


             1     REQUEST FOR ADMISSION NO.2:
             2            Admit that the DOCUMENT attached as Exhibit A herein depicts actual conditions at CRC at

             3     the time the photographs in the slideshow were taken.

             4     RESPONSE TO REQUEST FOR ADMISSION NO.2:
             5            Defendant objects to this request because it seeks information that is not relevant to a claim or

             6     defense at issue in this lawsuit. Additionally, this request is vague and ambiguous as to the terms
                                                 .
             7     "actual conditions." Moreover, this request requires a response that is more properly sought from

             8     parties or persons other than this responding Defendant.

             9             Subject to, and without waiving the above objections, Defendant responds to this request as
             10    follows: Defendant admits upon information and belief that these photographs depict pictures taken of

             11    Defendant while at the identified facility. Based on Defendant's objections, Defendant denies the

             12    remaining portion of this request.

             13    REQUEST FOR ADMISSION NO.3:
             14            Admit that the DOCUMENT attached as Exhibit A herein contains photographs that were

             15    taken at CRC on March 6, 2007.

             16    RESPONSE TO REQUEST FOR ADMISSION NO.3:
             17            Defendant objects to this request because it seeks information that is not relevant to a claim or

             18    defense at issue in this lawsuit. Additionally, this request requires a response that is more properly

             19    sought from parties or persons other than this responding Defendant.
             20            Subject to, and without waiving the above objections, Defendant responds to this request as

             21    follows: Defendant admits upon information and belief that these photographs depict Defendant while

             22    at the identified facility on March 6, 2007.

             23    REQUEST FOR ADMISSION NO.4:
             24            Admit that the DOCUMENT attached as Exhibit A herein was not staged and did not involve

             25    the use of actors.
             26     RESPONSE TO REQUEST FOR ADMISSION NO.4:
             27            Defendant objects to this request because it seeks information that is not relevant to a claim or .
             28     defense at issue in this lawsuit. Additionally, this request is vague and ambiguous as to the terms
                                                                       \ -2-
                     PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT SCHWARZENEGGER, NOS.: CIY S 90-0520 LKK-

[232656-1J                                                         JFM, COJ-135J TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3434-1           Filed 12/23/08    Page 18 of 21


             1     "staged" and the "use of actors." Moreover, this request is compound and could require multiple
         ~2        conflicting responses. Finally, this request requires a response that is more properly sought from

             3     parties or persons other than this responding Defendant.

             4            Subject to, and without waiving the above objections, Defendant responds to this request as

             5     follows: Defendant admits upon information and beliefthat the photographs depict Defendant at the

             6     identified facility. Based on the Defendant's objections, Defendant denies the remaining portion of the
                                                                                                                  I



             7     request.

             8     REQUEST FOR ADMISSION NO.5:
             9            Admit that YOU approved the contents of the text accompanying the photographs in the

             10    DOCUMENT attached as Exhibit A herein.

             11    RESPONSE TO REQUEST FOR ADMISSION NO.5:
             12               Defendant objects to this request because it seeks information that is not relevant to a claim or

             13    defense at issue in this lawsuit. Additionally, this request is vague and ambiguous as to the terms

             14    "approved" and the "contents of the text." Moreover, this request requires a response that is more

             15    properly sought from parties or persons other than this responding Defendant.

             16               Subject to, and without waiving the .above objections, Defendant denies the request based upon

             17    Defendant's objections.

             18    REQUEST FOR ADMISSION NO.6:
             19               Admit that the DOCUMENT attached as Exhibit A herein was displayed on YOUR website at

             20    http://gov.ca.gov/index.php?/photoviewer Iframe/55671 under the title "2007 Prison Reform and

             21    Rehabilitation Initiative" on August 14, 2008.

             22    RESPONSE TO REQUEST FOR ADMISSION NO.6:
             23               Defendant objects to this request because it seeks information that is not relevant to a claim or

             24    defense at issue in this lawsuit. Additionally, this request is vague and ambiguous as to the terms
             25    "displayed," "title," and "2007 Prison Reform and Rehabilitation Initiative." Furthermore, this

             26    request is compound and could require multiple conflicting responses. Moreover, this request requires

             27     a response that is more properly sought from parties or persons other than this responding Defendant.

             28
                                                                           -3-
                     PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT SCHWARZENEGGER, NOS.: eiV S 90-0520 LKK-
[232656-1]
                                                                     JFM, COl-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR             Document 3434-1           Filed 12/23/08      Page 19 of 21


              1            Subject to, and without waiving the above objections, upon infonnation and belief Defendant

              2    responds to this request as follows: Defendant is una1Jle to admit or deny the content ofthe request,

              3    because, although it appears that the DOCUMENT attached as Exhibit A was displayed at the

              4 . referenced website, Defendant cannot confirm that it appeared under the title "2007 Prison Reform and

              5    Rehabilitation Initiative."

              6

              7     Dated: September 4, 2008                            Respectfully submitted,
              8                                                         EDMUND G. BROWN JR.
                                                                        Attorney General of the State of California
              9
                                                                        DAVID S. CHANEY
             10                                                         Chief Assistant Attorney General
             11                                                         ROCHELLE C. EAST
                                                                        Senior Assistant Attorney General
             12
                                                                        JONATHAN L. WOLFF
             13

             14
                                                                       ~:~~eYGen~
             15                                                         KA:LEW
                                                                        Deputy Attorney General
             16                                                         Attorneys for Defendants
             17

             18
             19
             20

             21
             22

             23
             24
             25

             26
             27

             28
                                                                         -4-
                     PLAINTIFF COLEMAN'S FIRST SET OF REQUEST FOR ADMISSION TO DEFENDANT SCHWARZENEGGER, NOS.: CIY S 90-0520 LKK-
[232656-1]                                                         lFM, COI-1351 TgH
Case 2:90-cv-00520-KJM-SCR            Document 3434-1         Filed 12/23/08      Page 20 of 21


                       DECLARATION OF SERVICE BY U.S. MAIL

Case Name:     Three-Judge Panel Proceeding Pursuant to 28 U.S.c. § 2284
               Coleman, et al. v. Schwarzenegger, et al.
               USDC, Eastern District of California, Case No. 2:90-cv-00520 LKK JFM
               Plata, et al. v. Schwarzenegger, et al.
               USDC, Northern District of California, Case No. C-01-1351 TEH

No.:    C 90-0520 LKKI C 01-01351 TEH

I declare:

I am employed in the Office ofthe Attorney General, which is the office of a member ofthe
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On September 4. 2008, I served the attached

RESPONSES TO PLAINTIFF COLEMAN'S FIRST SET OF REQUESTS FOR
ADMISSION TO DEFENDANT SCHWARZENEGGER

by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully prepaid,
in the internal mail collection system at the Office of the Attorney General at 455 Golden Gate
Avenue, Suite 11000, San Francisco, CA 94102-7004, addressed as follows:

 KlMBERLY HALL BARLOW                                  LORI RIFKIN
 Jones & Mayer                                         MICHAEL BIEN
 3777 North Harbor Boulevard                           Rosen Bien & Galvan, LLP
 Fullerton, CA 92835                                   315 Montgomery St., 10th Floor
                                                       San Francisco, CA 94104

 ANN MILLER RAVEL
 THERESA FUENTES                                       MARTIN H. DODD
 Office of the County Counsel                          FUTTERMAN & DUPREE
 County of Santa Clara                                 160 Sansome Street, 17TH Floor
 70 West Hedding, East Wing, 9th Floor                 San Francisco, CA 94109
 San Jose, CA 95110
Case 2:90-cv-00520-KJM-SCR            Document 3434-1         Filed 12/23/08      Page 21 of 21


ROD PACHECO                                          JOHN HAGAR
WILLIAM MITCHELL                                     LAW OFFICE OF JOHN HAGAR
Office of the District Attorney                      PMB 314
County of Riverside                                  1819 Polk Street
4075 Main Street, First Floor                        San Francisco, CA 94109
Riverside, CA 92501
                                                     GREGG ADAM
MICHAEL P. MURPHY                                    NATALIE LEONARD
CAROL L. WOODWARD                                    Carroll, Burdick, & McDonough, LLP
Hall of Justice and Records                          44 Montgomery Street, Suite 400
400 County Center, 6th Floor                         San Francisco, CA 94104
Redwood City, CA 94063
                                                      DENNIS BUNTING
STEVEN S. KAUFHOLD                                    ALAN COHEN
CHAD A. STEGEMAN                                      Office of County Counsel
TERESA WANG                                           County of Solano
Akin Gump Straus Hauer & Feld LLP                     675 Texas Street, Suite 6600
580 California Street, 15th Floor                     Fairfield, CA 94533
San Francisco, CA 94102
                                                      DANIEL J. WALLACE
STEVEN WOODSIDE                                       KELLY DUNCAN SCOTT
ANNEL.KECK                                            County of Santa Barbara
Office of the Counsel                                 105 E. Anapamu Street, Suite 201
575 Administration Drive., Room 105A                  Santa Barbara, CA 93101
Santa Rosa, CA 95403
                                                      LISA TILLMAN
PRISON LAW OFFICE                                     Office of the Attorney General
DONALD SPECTER                                        1300 I Street, Suite 125
1917 Fifth Street                                     Sacramento, CA 94244
Berkeley, CA 94710-1916




 I declare under penalty ofpeIjury under the laws of the State of California the foregoing is true
 and correct and that this declaration was executed on September 4, 2008, at San Francisco,
 California.


                M.XIANG
                Declarant                                             Signature

 20139546.wpd
